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                      UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK

                             Adversary Proceeding No. 20-01061-SHL


 COÖPERATIEVE RABOBANK U.A., New York
 Branch; BROWN BROTHERS HARRIMAN & CO.;
 BANK HAPOALIM B.M.; MITSUBISHI                        Hon. Sean H. Lane
 INTERNATIONAL CORPORATION; ICBC
 STANDARD BANK PLC; TECHEMET METAL
 TRADING, LLC; WOODFOREST NATIONAL
 BANK and HAIN CAPITAL INVESTORS
 MASTER FUND, LTD.,

               Plaintiffs,

 vs.

 CROWE LLP,

               Defendant.


 ORDER GRANTING DEFENDANT’S MOTION FOR LEAVE TO FILE INSTANTER
      SUPPLEMENTAL MEMORANDUM OF LAW IN OPPOSITION TO
         PLAINTIFFS’ MOTION FOR ABSTENTION AND REMAND

       This matter coming to be heard on the Defendant’s Motion for Leave to File Instanter its

Supplemental Memorandum of Law in Opposition to Plaintiffs’ Motion for Abstention and

Remand (Dkt. 23), due notice having been given and the Court having been duly advised, it is

hereby ordered that the motion is GRANTED.

Dated: April 10, 2020                             ENTERED:



                                                  /s/ Sean H. Lane
                                                  United States Bankruptcy Judge
